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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON
  TALCUM POWDER PRODUCTS                  MDL No. 2738
  MARKETING, SALES PRACTICES, AND
  PRODUCTS LIABILITY LITIGATION




               DEFENDANT PERSONAL CARE PRODUCTS COUNCIL’S
            MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS




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          Plaintiffs allege that they or decedents developed ovarian cancer from Johnson &

Johnson Baby Powder® and/or Shower to Shower® (the “Products”). Plaintiffs name the

Johnson & Johnson entities as defendants because Johnson & Johnson Consumer, Inc.,

manufactured the Products. Plaintiffs name Imerys Talc America, Inc. as a defendant because,

for a period of time, it supplied the talc used as an ingredient in the Products.

          A minority of Plaintiffs also name as a defendant Personal Care Products Council

(“PCPC”), a non-profit trade association for the cosmetics industry. PCPC does not design,

manufacture, sell or regulate any of the Products or any other cosmetic products. PCPC should

be dismissed from this litigation because:

          1.     Personal jurisdiction does not exist in the majority of lawsuits naming PCPC;

          2.     Anti-SLAPP statutes preclude some of the lawsuits; and

          3.     PCPC’s alleged conduct is protected by the First Amendment under the Noerr-
                 Pennington doctrine.

I.        PERSONAL JURISDICTION OVER PCPC DOES NOT EXIST IN
          THE VAST MAJORITY OF LAWSUITS.1

          PCPC has no contacts and transacts no meaningful business in any jurisdiction other than

Washington, DC. PCPC has consented to personal jurisdiction for talc lawsuits filed and

litigated in New Jersey. Plaintiffs in other jurisdictions cannot meet their burden of establishing

that personal jurisdiction exists over PCPC under any other state’s long-arm statute, nor can

Plaintiffs meet their burdens of establishing that personal jurisdiction exists over PCPC under the

Due Process Clause of the U.S. Constitution.

          For these reasons, the U.S. District Court for the Southern District of Illinois granted

PCPC’s motion to dismiss a talc lawsuit making the same allegations. See Cebulske v. Johnson

& Johnson, No. 14-cv-00627, 2015 WL 1403148, at *3 (S.D. Ill. Mar. 25, 2015), attached as

1
    Attached as Exhibit A is a list of pending lawsuits for which personal jurisdiction does not exist.

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Exhibit B (holding that “Due process requires that a Defendant be haled into court in a forum

State based on his own affiliation with the State, not based on the ‘random, fortuitous, or

attenuated’ contacts he makes by interacting with other persons affiliated with the state”) (citing

Walden v. Fiore, 134 S. Ct. 1115, 1123 (2014)). PCPC likewise should be dismissed from the

cases identified on Exhibit A, Column 1.

         A.     This Court Has Authority to Dismiss Lawsuits Based on Lack
                of Personal Jurisdiction.

         PCPC’s Omnibus Motion is properly before this Court. “In a multidistrict litigation, a

transferee court has personal jurisdiction over a defendant only if the transferor court would have

had jurisdiction.” In re Zofran (Onbansetron) Prods. Liab. Litig., No. 1:15-cv-13760-FDS,

2016 WL 2349105, at *3 (D. Mass. May 4, 2016). MDL transferee courts have authority to

resolve motions to dismiss for lack of personal jurisdiction. See, e.g., In re Gypsum Wallboard,

302 F. Supp. 794, 794 (Jud. Pan. Mult. Lit. 1969) (holding that motions to “dismiss for lack of

jurisdiction are being routinely considered by courts to which multidistrict litigation has

previously been transferred”); Riggs v. AHP Settlement Trust, 421 Fed. App’x 136, 137 (3d Cir.

2011) (noting that “[t]he District Court . . . dismissed the complaint against [defendant] for lack

of personal jurisdiction pursuant to Rule 12(b)(2)”).

         Personal jurisdiction is a two-step analysis. MDL courts first determine whether

jurisdiction exists pursuant to the long-arm statute of the state where the transferee court is

located or where a lawsuit filed directly in the MDL court will be transferred following pretrial

proceedings. If there is long-arm jurisdiction (or the forum state’s long-arm statute is

coterminous with federal due process considerations), then the MDL court determines whether

the exercise of jurisdiction violates the principles of the Due Process Clause of the U.S.

Constitution. In determining whether personal jurisdiction exists under the second part of the


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analysis, an MDL transferee court analyzes the law of its Circuit. See, e.g., In re Linerboard

Antitrust Litig., No. 04-400, 2005 WL 1625040, at *4 (E.D. Pa. July 11, 2005); In re Methyl

Tertiary Butyl Ether Prods. Liab. Litig., 241 F.R.D. 435, 439 (S.D.N.Y. 2007).

         B.     Plaintiffs Cannot Meet Their Burden of Establishing Personal
                Jurisdiction.

         Plaintiffs bear the burden of making a prima facie showing that the Court has personal

jurisdiction over PCPC. See Allaham v. Naddaf, 635 Fed. App’x 32, 36–37 (3d Cir. 2015);

D’Jamoos ex rel. Estate of Weingeroff v. Pilatus Aircraft Ltd., 566 F.3d 94, 102 (3d Cir. 2009).

To meet their burden, “plaintiff[s] may not rely on the bare pleadings alone in order to withstand

a defendant’s . . . motion to dismiss for lack of personal jurisdiction; instead, the plaintiff[s] must

present competent evidence, such as sworn affidavits, to support [their] jurisdictional allegations.”

Rivera v. Ballys Park Place, Inc., 798 F. Supp. 2d 611, 615 (E.D. Pa. 2011) (quotation marks and

citation omitted).

         “Personal jurisdiction over an out-of-state defendant is appropriate if the relevant state’s

long-arm statute permits the assertion of jurisdiction without violating federal due process.”

Oticon, Inc. v. Sebotek Hearing Sys., LLC, 865 F. Supp. 2d 501, 506 (D.N.J. 2011). “[T]he

central inquiry is whether the defendant has ‘certain minimum contacts with [the forum] such

that the maintenance of the suit does not offend traditional notions of fair play and substantial

justice.’” Id. (quoting Int’l Shoe v. Washington, 326 U.S. 310, 316 (1945)).

         Under the Due Process Clause, personal jurisdiction may be established under either

“general” or “specific” theories. Allaham, 635 Fed. App’x at 37–38 (citing Grimes v. Vitalink

Commc’ns Corp., 17 F.3d 1553, 1559 (3d Cir. 1994)). “A court has general jurisdiction when a

defendant has ‘continuous and systematic’ contacts with the forum state.” Id. at 38 (quoting

O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 317 (3d Cir. 2007)). “A court has specific


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jurisdiction when a plaintiff’s claim arises from a defendant’s actions within the forum state,

such that the defendant could ‘reasonably anticipate being haled into the state’s courts.’” Id.

(citing Vetrotex Certainteed Corp. v. Consol. Fiber Glass Prods. Co., 75 F.3d 147, 151 (3d Cir.

1996) (quoting World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980))).

                 1.       Plaintiffs Cannot Establish Long-Arm Jurisdiction.

         Exhibit C sets forth the relevant portions of the state long-arm statutes for the lawsuits

identified on Exhibit A. Ten of the relevant states have long-arm statutes that are expressly, or

by operation of case law, coextensive with federal due process analysis. Accordingly, courts

collapse the two inquiries into the federal due process analysis. Those states are: Alabama:

Sieber v. Campbell, 810 So. 2d 641, 644 (Ala. 2001); Sloss Indus. Corp. v. Eurisol, 488 F.3d 922,

925 (11th Cir. 2007); California: Doe v. Unocal Corp., 248 F.3d 915, 923 (9th Cir. 2001);

Louisiana: Jackson v. Tanfoglio Giuseppe, S.R.L., 615 F.3d 579, 584 (5th Cir. 2014);

Maryland: Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 396–97 (4th

Cir. 2003); Massachusetts:2 Copia Comm’cns, LLC v. AMResorts, L.P., 812 F.3d 1, 4 (1st Cir.

2016); Nevada: Rio Props., Inc. v. Rio Intern. Interlink, 284 F.3d 1007, 1019 (9th Cir. 2002);

Oklahoma: Williams v. Bowman Livestock Equip. Co., 927 F.2d 1128, 1131 (10th Cir. 1991);

Pennsylvania: Remick v. Manfredy, 238 F.3d 248, 255 (3d Cir. 2001); South Carolina: Hardy

v. Pioneer Parachute Co., 531 F.2d 193, 195 (4th Cir. 1976); Fed. Ins. Co. v. Lake Shore Inc.,

886 F.2d 654, 657 (4th Cir. 1989); and Texas: See, e.g., Johnston v. Multidata Sys. Int’l Corp.,

523 F.3d 602, 609 (5th Cir. 2008). Thus, the personal jurisdiction inquiry in those states is the

same as the federal due process inquiry discussed below in Parts I.B.2 and 3.



2
 The First Circuit expressed a possible split regarding this interpretation. However, as with the other states
discussed below, none of the eight factors set forth in the Massachusetts long arm statute apply to PCPC. Mass. Gen.
Laws ch. 223A, § 3.

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         Other relevant states have long-arm statutes that have varying requirements. In each

instance, these long-arm statutes do not confer jurisdiction here. PCPC is a non-profit trade

association that represents the interests of the cosmetic and personal care products industry. See

Declaration of Mark A. Pollak (“Decl.”) ¶ 4 (attached as Exhibit D). PCPC is the successor or

continuation of the Cosmetic, Toiletry, and Fragrance Association (“CTFA”). Decl. ¶ 4. PCPC

does not design, test, manufacture, market, sell or regulate any cosmetic or personal care

products containing talc, or any other chemical agreement. Decl. ¶¶ 4, 5. PCPC is not licensed

to do business in any of the forum states. Decl. ¶ 6. PCPC has no agent for service of process in

any of the forum states. Decl. ¶ 7. PCPC neither owns nor leases property, nor holds liens or

mortgages on any real property in any of the forum states. Decl. ¶ 8. PCPC has no address,

phone number, bank account, or office in any of the forum states. Decl. ¶ 9. None of PCPC’s

employees are based in any of the forum states nor do PCPC’s employees regularly travel to or

conduct business in any of the forum states on PCPC’s behalf. Decl. ¶ 10. PCPC has never

brought a lawsuit in a court in any of the forum states. Decl. ¶ 11. PCPC maintains no records

or any other property in any of the forum states. Decl. ¶12. Finally, PCPC has not lobbied any

state governments in relation to talc. Decl. ¶ 19.

         As to the lawsuits transferred from Florida, its long-arm statute on general personal

jurisdiction extends to the limits imposed by the Due Process Clause. See Fraser v. Smith, 594

F.3d 842, 846 (11th Cir. 2010). Although PCPC holds an annual meeting in Florida, as

discussed in Part II.B.2, that does not constitute being “at home in the forum.” See Helicopteros

Nacionales de Colo., S.A. v. Hall, 466 U.S. 408, 416 (1984). Florida’s specific jurisdiction long-

arm statute extends personal jurisdiction to operating a business in Florida, committing a tortious

act there, having or using real property there, and causing injury to a person by manufacturing or



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selling a product used in Florida. Fla. Stat. Ann. § 48.193(1) (quoted in Exhibit C). PCPC has

not engaged in any of those acts. See Decl. ¶¶ 5,6, 8, 9, 10, 14, 19.

         As to the lawsuits transferred from and the direct-filed lawsuit where Plaintiff’s home

state is Indiana, Kentucky, Missouri or New York, the long-arm statutes of those states set

forth various factors for establishing personal jurisdiction over a non-resident, including doing

business in the state, causing injury by manufacturing or selling a product used in the state, or

having or using real property there. Indiana Trial Rule 4.4(A); Ky. Rev. Stat. Ann. § 454.210;

Mo. Ann. Stat. § 506.500; N.Y. C.P.L.R. § 302(a) (each is quoted in Exhibit C). None of those

acts apply here. See Decl. ¶¶ 5, 6, 8, 9, 10, 19. Accordingly, under their long-arm statutes,

personal jurisdiction does not exist in Indiana, Kentucky, Missouri, and New York, and the Court

need not continue its analysis as to the lawsuits filed in those states. With respect to Florida,

there is no specific jurisdiction under that state’s long-arm statute. And, as discussed in the next

part, there is no general jurisdiction in Florida or any other states.

                2.      General Jurisdiction Does Not Exist Over PCPC.

         To be subject to general jurisdiction, the nonresident corporation must have developed

“continuous and systematic general business contacts” with the forum state “so as to render [it]

essentially at home in the forum.” Helicopteros, 466 U.S. at 416; Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). Because it requires extensive and

sustained contacts, “most courts[ ] are hesitant to exercise general jurisdiction over non-resident

defendants.” Lakin v. Prudential Secs., Inc., 348 F.3d 704, 708 (8th Cir. 2003) (quotation marks

omitted); see also Daimler AG v. Bauman, 134 S. Ct. 746, 758 (2014) (“general jurisdiction has

come to occupy a less dominant place in the contemporary scheme.”); Goodyear, 564 U.S. at

925 (“[S]pecific jurisdiction has become the centerpiece of modern jurisdiction theory, while

general jurisdiction plays a reduced role.” (quotation marks omitted)).

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         General personal jurisdiction over PCPC plainly does not exist as to the forum states at

issue. The Pollak Declaration establishes that PCPC has no or few business contacts with the

forum states, much less the sort of contacts that are “so constant and pervasive as to render it

essentially at home” in those states. Daimler, 134 S. Ct. at 751 (quotation marks and brackets

omitted). See Decl. ¶¶ 5–19. Having a meeting once a year in Florida, occasionally lobbying in

Pennsylvania, and having contracts with a publisher and a warehouse in Maryland do not render

PCPC “essentially at home” in those forums.3 Helicopteros, 466 U.S. at 416; see also

Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201, 1205 (11th Cir. 2015) (“A foreign

corporation cannot be subject to general jurisdiction in a forum unless the corporation’s activities

in the forum closely approximate the activities that ordinarily characterize a corporation’s place

of incorporation or principal place of business.”).

         In Daimler, the plaintiff, who was seeking to recover for injuries sustained in a foreign

jurisdiction, sued a nonresident corporation in California based on general personal jurisdiction.

134 S. Ct. at 751–52. The plaintiff argued that general jurisdiction existed because one of the

defendant’s subsidiaries conducted business in California. Id. at 752. The Supreme Court

rejected the argument, holding that, even if the subsidiary was at home in California for purposes

of general jurisdiction and its conduct could be attributed to the defendant, “there would still be

no basis to subject [the defendant] to general jurisdiction in California, for [its] slim contacts

with the State hardly render it at home there.” Id. at 760. As emphasized by Daimler, the



3
  As discussed below in Part III, PCPC’s lobbying activities are protected by the First
Amendment. To protect this core constitutional right, courts have fashioned the “government
contacts” doctrine, which forbids the exercise of general jurisdiction based on mere lobbying
activities. See, e.g., Klinghoffer v. S.N.C. Achille Lauro, 937 F.2d 44, 51 (2d Cir. 1991); Inv. Co.
Inst. v. U.S., 550 F. Supp. 1213, 1216–17 (D.D.C. 1982); Herman v. YellowPages.com, LLC, 780
F. Supp. 2d 1028, 1034 (S.D. Cal. 2011); Mgmt. Insights, Inc. v. CIC Enters., Inc., 194 F. Supp.
2d 520, 528 (N.D. Tex. 2001).

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relevant test for determining whether a defendant is subject to general jurisdiction is whether the

defendant itself has “affiliations with the [forum] State . . . so continuous and systematic as to

render [it] essentially at home in the forum State.” Id. at 761 (quotation marks omitted).

         Because Plaintiffs cannot establish that PCPC is essentially “at home” anywhere other

than Washington, D.C., there is no basis to exercise general jurisdiction.

                3.      Specific Jurisdiction Does Not Exist Over PCPC.

         The exercise of specific personal jurisdiction is appropriate only if: (1) “the defendant

purposefully availed itself of the privilege of conducting activities within the forum State, thus

invoking the benefits and protections of its laws,” Hanson v. Denckla, 357 U.S. 235, 253 (1958),

(2) the cause of action arises out of or relates to the defendant’s activities within the state, Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985), and (3) exercising jurisdiction over the

defendant does “not offend traditional notions of fair play and substantial justice,” Int’l Shoe,

326 U.S. at 316. Only by purposefully establishing contacts does a defendant “submit[ ] to the

judicial power of an otherwise foreign sovereign to the extent that power is exercised in

connection with the defendant’s activities touching on the State.” J. McIntyre Machinery, Ltd. v.

Nicastro, 131 S. Ct. 2780, 2788 (2011) (plurality op.).

         Plaintiffs cannot meet their burden of showing that PCPC purposefully established

contacts in the forum states. The Complaints generally allege that PCPC formed a Talc

Interested Party Task Force (“TIPTF”), but none allege that PCPC formed the TIPTF in the

forum states. Nor do Plaintiffs allege that PCPC or the TIPTF made any statements in, or

directed toward, any of the forum states. Plaintiffs thus fail to establish the sort of connection

needed for specific jurisdiction to exist. See Walden v. Fiore, 134 S. Ct. 1115, 1122 (2015)

(jurisdiction “must arise out of contacts that the defendant himself creates . . . with the forum

State itself.”) (quotation marks omitted); Burger King, 471 U.S. at 475 (same).

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         Moreover, contacts that other defendants may have with the transferee states cannot be

the basis for jurisdiction. “The requirements of International Shoe . . . must be met as to each

defendant over whom a state court exercises jurisdiction.” Rush v. Savchuk, 444 U.S. 320, 332

(1980). Indeed, the Supreme Court recently reaffirmed that a plaintiff cannot “satisfy the

defendant-focused ‘minimum contacts’ inquiry by demonstrating contacts between . . . third

parties and the forum State.” Walden, 134 S. Ct. at 1122 (parenthesis omitted); see also World-

Wide Volkswagen, 444 U.S. at 298 (same). “Rather, it is the defendant’s conduct that must form

the necessary connection with the forum State that is the basis for jurisdiction over him.” Id. at

1122; see also Kulko v. Super. Ct. for City & Cty. of S.F., 436 U.S. 84, 94 (1978) (same). The

Due Process Clause does not permit the exercise of personal jurisdiction over a nonresident

defendant based solely on the conduct of alleged third-party “co-conspirators.” This principle is

exemplified here, where the Complaints do not allege that any “conspiracy” activities took place

in any of the forum states. See, e.g., Sugartown Worldwide LLC v. Shanks, Civ. A. No. 14-5063,

2015 WL 1312572, at *4 (E.D. Pa. Mar. 24, 2015) (quoting Doe v. Hesketh, 15 F. Supp. 3d 586,

595 (E.D. Pa. 2014)) (“It is not enough that the non-forum co-conspirator is part of the

conspiracy as plaintiff must plead the defendant’s involvement with specificity.”).

         Although the Court need look only to Third Circuit law, courts in the forum states have

long adhered to these bedrock due process principles traceable from International Shoe to

Walden. Hallmark Cards, Inc. v. Monitor Clipper Partners, LLC, 757 F. Supp. 2d 904, 912 n.1

(W.D. Mo. 2010) (“[I]t does not appear that the law imposes personal jurisdiction on a party

based solely on a co-conspirator’s actions.”); St. Louis v. Am. Tobacco Co., No. 982-09652, 2003

WL 23277277, at *7 (Mo. Cir. Dec. 16, 2003) (“[P]ersonal jurisdiction cannot constitutionally be

obtained over [nonresident] based on the imputed forum-related conduct of other, non-affiliated



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Defendant companies alleged to be ‘co-conspirators’. . . Rather, personal jurisdiction can only

properly be based on [nonresident’s] own forum-related conduct.”); Ploense v. Electrolux Home

Prods., Inc., 882 N.E.2d 653, 668–69 (Ill. App. Ct. 2007) (no personal jurisdiction based on

“conspiracy theory over a nonresident trade association with no contacts in state); Nat’l Indus.

Sand Ass’n v. Gibson, 897 S.W.2d 769, 773 (Tex. 1995) (“We decline to recognize the assertion

of personal jurisdiction over a nonresident defendant based solely upon the effects or

consequences of an alleged conspiracy.” ); Conwill v. Greenberg Traurig, L.L.P., No. 09-4365,

2009 WL 5178310, at *4–5 (E.D. La. Dec. 22, 2009) (“[T]he Fifth Circuit has never adopted a

conspiracy theory of jurisdiction.”) (citation and quotation marks omitted); Matthews v.

Brookstone Stores, 469 F. Supp. 2d 1056, 1066 (S.D. Ala. 2007) (citing Ex parte United Ins.

Cos., Inc., 936 So. 2d 1049 (Ala. 2006)) (requiring plaintiff to plead with particularity the

conspiracy and overt acts taken within Alabama).

         As one federal court succinctly explained in dismissing a lawsuit with similar allegations

against another trade association also located solely in the District of Columbia:

         [T]here is not a specific act enumerated by Plaintiffs that [the trade association]
         committed in, or directed at, [the forum state] that gave rise to their Complaint.
         General allegations that the “Defendants,” (which would generically include [the
         trade association]) “intentionally and deliberately withheld warnings and
         concealed information to the consuming public and to Plaintiffs concerning the
         severity of the products’ toxic effects,” and “conducted a sales and marketing
         campaign to promote the sale of the aforementioned products and willfully
         deceived plaintiffs, and the general public, as to the health risks in using the
         aforementioned product,” even if true . . . does not establish personal
         jurisdiction over [the trade association] because it does not sell, market, or
         promote any of the products referenced in the Complaint—in [the forum
         state], or anywhere else. The Complaint makes general allegations but fails to
         specify which particular defendant did what, or when. The “consuming public”
         includes “millions of individuals” throughout the United States. Such a claim
         does not allege activities directed at or conducted in [the forum state]. This is not
         a case where this Defendant manufactures or sells products which it should know
         will likely be purchased in [the forum state].



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Graziose v. Am. Home Prods. Corp., 161 F. Supp. 2d 1149, 1153 (D. Nev. 2001) (emphasis

added); see also Cebulske, No. 14-cv-00627, 2015 WL 1403148, attached as Exhibit B

(dismissing PCPC from talc lawsuit).

         In short, Plaintiffs’ vague and conclusory allegations provide no basis to exercise

personal jurisdiction over PCPC.

II.      ANTI-SLAPP STATUTES PRECLUDE CERTAIN LAWSUITS AGAINST PCPC.

         Plaintiffs attempt to compensate for their weak causation argument by crafting vague

conspiracy, fraud and related claims. As to Plaintiffs from Washington, D.C., California,

Florida, Indiana, Louisiana, Maryland, Massachusetts, Nevada, New York, Oklahoma, and

Texas, their lawsuits should be dismissed based on anti-SLAPP statutes protecting the very

conduct that Plaintiffs allege gives rise to liability. 4 Because, as discussed above, lawsuits filed

by Plaintiffs in jurisdictions other than Washington, D.C. and New Jersey should be dismissed

based on lack of personal jurisdiction, this Part focuses on the District of Columbia’s Anti-

SLAPP Act, D.C. Code § 16-5501 et seq.

         Only a few paragraphs in Plaintiffs’ complaints discuss PCPC’s alleged conduct. Those

paragraphs generally allege that PCPC formed a committee for the purpose of lobbying the

government and influencing regulatory bodies regarding the safety of talc. See, e.g., ECF No. 82

(Plaintiffs’ Master Long Form Complaint), ¶¶ 33–35, 160, 207; Lubben v. Johnson & Johnson,

D.N.J. No. 3:16-cv-08842, ¶¶ 22, 101; Snyder v. Johnson & Johnson, D.N.J. No. 3:16-cv-08816,

¶¶ 26, 110; Thorpe v. Johnson & Johnson, D.N.J. No. 3:16-cv-08827, ¶¶ 26, 115; Bier v.

Johnson & Johnson, E.D. La. 2:16-cv-15961, ¶¶ 26, 67; Davis v. Johnson & Johnson, D.N.J. No.

3:16-cv-07844, ¶¶ 26, 114; Williams v. Johnson & Johnson, D.N.J. No. 3:16-cv-08738, ¶¶ 33,


4
    Exhibit A, Column 2 identifies the lawsuits that should be dismissed based on anti-SLAPP acts.

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123; Schofield v. Johnson & Johnson, D.N.J. No. 3:16-cv-08331, ¶¶ 33, 123; Ferrell v. Johnson

& Johnson, D.N.J. No. 3:16-cv-08812, ¶¶ 26, 110; Holmes v. Johnson & Johnson, N.D. Tex.

3:16-cv-03348, ¶¶ 34, 132. In other words, the Complaints allege that PCPC advocated on issues

of public interest. These paragraphs provide the sole basis for the causes of action asserted

against PCPC.

         The DC Anti-SLAPP Act prohibits lawsuits that target constitutionally protected activity

arising out of “acts in furtherance of the right of advocacy on issues of public interest.” D.C.

Code Ann. §16-5502(b). Because PCPC’s alleged activities arise solely from PCPC’s advocacy

on issues of public interest, Plaintiffs bear the burden of demonstrating, at this stage in the

litigation, that they are “likely to succeed on the merits.” Id. (emphasis added). To overcome

this burden, they must present more than mere allegations. Competitive Enter. Inst. v. Mann, No.

14–CV–101, NO. 14–CV–126, 2016 WL 7404870, at *11 (D.C. Dec. 22, 2016). They must

present evidence that would be sufficient to allow a properly instructed jury reasonably to find in

Plaintiffs’ favor. Id. They cannot. As a result, less than three weeks ago, in a talc-ovarian

cancer case, the D.C. Superior Court granted PCPC’s anti-SLAPP motion, dismissing PCPC and

awarding it attorneys’ fees. Simpson v. Johnson & Johnson, 2016 CA 1931 B (D.C. Super. Ct.

Jan 13, 2017).5

         A.       The Claims Against PCPC Relate Solely to Protected Activity.

         D.C. Code Section 16-5502 provides:

         (a)      A party may file a special motion to dismiss any claim arising from
                  an act in furtherance of the right of advocacy on issues of public
                  interest within 45 days after service of the claim.

         (b)      If a party filing a special motion to dismiss under this section
                  makes a prima facie showing that the claim at issue arises from an

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  The Simpson Court’s ruling from the bench during the January 13, 2017 hearing is attached in
the transcript excerpt attached as Exhibit E.

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                act in furtherance of the right of advocacy on issues of public
                interest, then the motion shall be granted unless the responding
                party demonstrates that the claim is likely to succeed on the merits,
                in which case the motion shall be denied.

         The Act arose in recognition that certain constitutionally protected activity, such as the

right to petition the government, is sacrosanct and must be safeguarded. See, e.g., Forras v.

Rauf, 39 F. Supp. 3d 45, 53 (D.D.C. 2014), aff’d on other grounds, 812 F.3d 1102 (D.C. Cir.

2016) (citations and quotations omitted) (explaining reasons for “broad protections afforded by

the Act”). To “make a prima facie showing,” a movant must show that the claim arises from “an

act in furtherance of the right of advocacy” “on issues of public interest.” Here, Plaintiffs allege

that PCPC petitioned “regulatory bodies” regarding the “safety of talc.” ECF No. 82 (Plaintiffs’

Master Long Form Complaint and Jury Demand), ¶ 34. The right to petition the government on

issues of public interest is precisely the type of activity that the Act protects.

         The Act defines an “[a]ct in furtherance of the right of advocacy on issues of public

interest” in three ways, any one of which is sufficient. An act in furtherance of the right of

advocacy includes “[a]ny written or oral statement” made “[i]n connection with an issue under

consideration or review by a legislative, executive, or judicial body, or any other official

proceeding authorized by law.” D.C. Code § 16-5501(1)(A)(i). The Complaints allege that

PCPC formed the Talc Interested Party Task Force in response to the United States National

Toxicology’s study regarding the safety of talc and that PCPC submitted scientific reports to

governmental agencies. ECF No. 82 (Plaintiffs’ Master Long Form Complaint), ¶¶ 33–34, 160.

This alleged conduct constitutes an act in furtherance of the right of advocacy.

         The statute also defines an “[a]ct in furtherance of the right of advocacy on issues of

public interest” to include a “written or oral statement” made in “a place open to the public or a

public forum in connection with an issue of public interest.” D.C. Code § 16-5501(1)(A)(ii).


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The Complaints allege that PCPC released information regarding the safety of talc to the public.

ECF No. 82 (Plaintiffs’ Master Long Form Complaint), ¶ 34. This allegation also constitutes an

act in furtherance of the right of advocacy. See, e.g., Farah v. Esquire Magazine, 863 F. Supp.

2d 29, 38 (2012) (quoting D.C. Code § 16-5501(1)(A)) (holding that Internet post qualifies as

“‘written . . . statement’” made in a “‘place open to the public or a public forum.’”); Simpson

(Ex. E) at 39.

         The statute further defines an “[a]ct in furtherance of the right of advocacy” to include

“[a]ny other expression or expressive conduct that involves petitioning the government or

communicating views to members of the public in connection with an issue of public interest.”

D.C. Code § 16-5501(1)(B). The Complaints allege that PCPC both petitioned the government

and communicated with the public regarding the safety of talc. ECF No. 82 (Plaintiffs’ Master

Long Form Complaint), ¶¶ 34, 160. This third, “catch-all” definition of an act in furtherance of

the right of advocacy also applies here.

         The Act defines an “issue of public interest” as “an issue related to health or safety;

environmental, economic, or community well-being; the District government; a public figure; or

a good, product, or service in the market place.” D.C. Code Ann. § 16-5501(3). An “issue of

public interest” “shall not be construed to include private interests, such as statements directed

primarily toward protecting the speaker’s commercial interests rather than toward commenting

on or sharing information about a matter of public significance.”

         In Simpson, as here, plaintiffs argued that PCPC was speaking regarding a private rather

than public interest. The court rejected that argument. The Honorable Marisa J. Demeo, citing

Choose Energy, Inc. v. Am. Petroleum Inst., 87 F. Supp. 3d 1218 (N.D. Cal. 2015) and LA Taxi

Coop., Inc. v. Indep. Taxi Owners Assocs. of LA, 239 Cal. App. 4th 918 (2015), recognized the



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difference between “when a trade association is promoting a specific product or the benefits of a

specific product versus when a trade association is speaking more generally about products and

the health and safety of those products as opposed to a specific commercial product named.”

Ex. E at 38–39.6

         The court held that PCPC made a prima facie “showing that its alleged acts were made in

furtherance in the right of advocacy on issues of public interest.” Ex. E at 39. PCPC “is a

nonprofit trade association [that] does not manufacture, design or sell any products.” Id. “As a

result, PCPC does not have . . . a commercial interest to protect.” Id. Accordingly, “PCPC’s

own speech is not commercial in nature.” Id. at 40. Furthermore, “the safety of talc is clearly an

issue related to health or safety.” Id. As a result, the court dismissed PCPC with prejudice and

awarded it attorneys’ fees. Id. at 51, 53.

         Even if PCPC’s actions served some interests of a minority of its membership, that is

insufficient to place PCPC’s advocacy in the realm of “private interests.” Notably, Plaintiffs do

not allege that PCPC made any representations regarding a particular product. And, the Act

precludes only those in the business of selling goods and services from invoking its protections.

D.C. Code Ann. § 16-5505. If the D.C. legislature wanted, it could have precluded trade




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  District of Columbia courts rely upon California case law for guidance in interpreting the
District’s Anti-SLAPP Act. In advance of promulgating the Act, the District of Columbia
Council recognized that the statute “follows the model set forth in a number of other
jurisdictions.” Report of Committee on Public Safety and the Judiciary on Bill 18–893 (Nov. 18,
2010), at 1. At the time, “approximately 28 jurisdictions” had such a model. Id. at 3. Currently,
of all the jurisdictions, California has the most robust jurisprudence concerning an anti-SLAPP
motion. In light of this, and given the dearth of case law in the District of Columbia, its courts
will defer to the Council’s Committee Report, which favors utilizing California for guidance.
See Dist. of Columbia v. Place, 892 A.2d 1108, 1113 (D.C. 2006); Carter v. State Farm Mut.
Auto. Ins. Co., 808 A.2d 466, 477 (D.C. 2002). In fact, the DC Court of Appeals recently turned
to California jurisprudence in analyzing and interpreting DC’s Anti-SLAPP Act. Mann, 2016
WL 7404870, at *8–9, *13 n.30, *14 n.31, *15 n.32.

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organizations or any entity tangentially related to a commercial product. It did not. The

unambiguous language of the statute should be afforded its plain meaning.

         The Complaints allege that PCPC has a “direct pecuniary interest” in defending the safety

of talc because it receives dues that are calculated, in part, based on member sales. ECF No. 82

(Plaintiffs’ Master Long Form Complaint), ¶ 34. However, the Complaint is devoid of any facts

that suggest that PCPC’s lobbying efforts were motivated, even in part, by any purported interest

in increasing dues. Nor do the Complaints contain facts to suggest that the regulation of talc

would have any effect on the amount of dues paid by its members. In fact, any change in talc

sales would have a de minimis effect on the amount of dues that PCPC collects. Decl. ¶ 20.

         The same result is mandated by anti-SLAPP statutes in California, Florida, Indiana,

Louisiana, Maryland, Massachusetts, Nevada, New York, Oklahoma and Texas. Exhibit F sets

forth the relevant anti-SLAPP statutes. In California, for example, courts have conferred anti-

SLAPP protection on trade associations, reasoning that “the statute protects both private and

corporate speech . . . and that an issue of public interest ‘is any issue in which the public is

interested.’” Choose Energy, Inc., 87 F. Supp. 3d at 1218 (quoting Nygard Inc. v. Uusi-Kerttula,

159 Cal. App. 4th 1027, 1043 (2008)); see also La. Crisis Assistance Ctr. v. Marzano-Lesnevich,

878 F. Supp. 2d 662 (E.D. La. 2012) (applying La. Code Civ. Proc. Ann. art. 971); Starr v.

Bourdreaux, 978 So. 2d. 384, 388–89 (La. Ct. App. 2007); Thinkstream, Inc. v. Rubin, 971 So.

2d 1092, 1100 (La. Ct. App. 2007); Lamz v. Wells, 938 So. 2d 792, 796 (La. Ct. App. 2006); In

re Lipsky, 460 S.W. 3d 579, 590 (Tex. 2015); Murphy USA, Inc. v. Rose, No. 12-15-00197-CV,

2016 WL 5800263, at *2 (Tex. App. Oct. 5 2016); Fla. Stat. § 768.295; Fla. Stat. § 768.295; Ind.

Code § 34-7-7-1 et seq.; Md. Code Ann. Cts. & Jud. Proc. § 5-807; Mass. Gen. Laws Ann. ch.




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231 § 59H; Nev. Rev. Stat. §§ 41.635–41.670; N.Y. Civ. Rights Law § 70-a & 6-a.; Okla. Stat.

tit. 12, § 1430 et seq.

         Even if it were a for-profit corporation, PCPC still would be entitled to anti-SLAPP

protection. In Rivera v. 1st Databank, Inc., 187 Cal. App. 4th 709 (2010), a for-profit publishing

company sold a drug monograph related to the antidepressant Paxil. Id. at 713. The complaint

alleged that the decedent relied upon the monograph when purchasing Paxil at a Costco

pharmacy. Id. The court held that California’s Anti-SLAPP Act protected the publishing

company. The court reasoned that the monograph related to a matter of public interest: treatment

for depression. Id. at 716. That the defendant was a for-profit company that may have been

motivated by increasing sales was of no moment. “The statements in the monograph are about

neither defendant’s business nor plaintiffs’; the monograph discusses Paxil, the product of a drug

manufacturer. In addition , the statements were not made to sell defendant’s services or goods.”

Id. at 718.

         In short, Plaintiffs’ claims against PCPC are the type of claims encompassed by anti-

SLAPP acts. The claims are based on PCPC’s advocacy on an issue of public interest, the safety

of talc. Because PCPC has established a prima face case that the claims “arise[] from an act in

furtherance of the right of advocacy on issues of public interest, then the motion [to dismiss]

shall be granted unless [Plaintiffs] demonstrates that [their claims are] likely to succeed on the

merits. . . . ” D.C. Code § 16-5502(b).

         B.     Plaintiffs Cannot Meet Their High Burden of Establishing the
                Likelihood of Success on the Merits.

         To avoid dismissal, Plaintiffs have the burden of establishing that their claims are “likely

to succeed on the merits.” Id. Courts have interpreted this standard as being “comparable to that

used on a motion for judgment as a matter of law.” Forras, 39 F. Supp. 3d at 54; see also Mann,


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2016 WL 7404870, at *15 n.32. A plaintiff, therefore, “‘must demonstrate that the complaint is

legally sufficient and supported by a prima facie showing of facts to sustain a favorable

judgment if the evidence submitted by the plaintiff is credited.’” Forras, 39 F. Supp. 3d at 54

(citation omitted). That is, the plaintiff must demonstrate in her favor “whether a jury properly

instructed on the applicable legal and constitutional standards could reasonably find that the

claim is supported in light of the evidence that has been produced or proffered in connection with

the motion.” Mann, 2016 WL 7404870, at *11. “If the plaintiff fails to present a sufficient legal

basis for the claims or if the evidence offered is insufficiently substantial to support a judgment

in favor of the plaintiff, then the defendant’s anti-SLAPP motion should be granted.” Arenas v.

Shed Media U.S. Inc., 881 F. Supp. 2d 1181, 1188 (C.D. Cal.), aff’d, 462 F. App’x 709 (9th Cir.

2011) (relied on by Forras, 39 F. Supp. 3d at 54).

         For the reasons discussed below in Part III, Plaintiffs cannot meet their high burden of

establishing likely success on the merits.

         C.     The Court Should Apply the Anti-SLAPP Statutes.

         There is split concerning whether a federal court exercising diversity jurisdiction may

apply a state’s anti-SLAPP act. The majority view, including from the neighboring Second

Circuit, is that a federal court may apply anti-SLAPP acts. See, e.g., Liberty Synergistics, Inc. v.

Microflo Ltd., 718 F.3d 138, 143–44 (2d Cir. 2013); Adelson v. Harris, 774 F.3d 803, 809 (2d

Cir. 2014) (noting that federal application of various provisions of Nevada’s anti-SLAPP law

“seem[s] to us unproblematic”); Price v. Stossel, 620 F.3d 992, 1000 (9th Cir. 2010); Godin v.

Schencks, 629 F.3d 79, 89 (1st Cir. 2010); Henry v. Lake Charles Am. Press, LLC, 566 F.3d 164,

168–69 (5th Cir. 2009). But see Abbas v. Foreign Policy Grp., LLC, 783 F.3d 1328, 1334 (D.C.

Cir. 2015); Royalty Network, Inc. v. Harris, 756 F.3d 1351, 1361–62 (11th Cir. 2014).



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         The majority’s view should carry the day for three reasons. First, the D.C. Circuit

declined to apply the Act on the basis that it created an “additional hurdle a plaintiff must jump

over to get to trial” given that the “Act’s likelihood of success standard is different from and

more difficult for plaintiffs to meet than the standards imposed by Federal Rules 12 and 56.”

Abbas, 783 F.3d at 1334–35. Twenty months later, the D.C. Court of Appeals disagreed with

this conclusion, finding the Act’s standard to be identical to that of Federal Rule 56:

                Abbas recognized that at the time, this court “has never interpreted the
                D.C. Anti–SLAPP Act’s likelihood of success standard to simply mirror
                the standards imposed by” Federal Rule 56. 783 F.3d at 1335. We do so
                now. This court’s interpretation of the standard applicable to the special
                motion to dismiss under District of Columbia law will no doubt factor into
                future analysis of the dicta in Abbas concerning the applicability of the
                Anti–SLAPP Act in litigation brought in federal courts.

Mann, 2016 WL 7404870, at *15 n.32.7

         Second, the holding from Royalty Network is limited to a narrow circumstance. There,

the Eleventh Circuit declined to apply Georgia Anti–SLAPP statute’s verification requirement

because it was procedural and conflicted with Federal Rule 11, which does not require

verification. 756 F.3d at 1362. As the Eleventh Circuit noted, “Georgia’s anti-SLAPP statute is

distinct from the anti-SLAPP statues of California, Louisiana, and Maine in that it attempts to

effectuate its deterrent purpose through a verification requirement. The California, Louisiana,

and Maine provisions do not require a complaint to be verified, and the court of appeals

considering those statutes were therefore not presented with a potential conflict between the state

laws and Rule 11. . . . Accordingly, the First, Fifth, and Ninth Circuits had no occasion to

address the question we consider in this case.” Id.


7
 Although the D.C. Circuit described the Act as procedural, the D.C. Council stated otherwise,
noting that the Act incorporates “substantive rights that allow a defendant to more expeditiously,
and more equitably, dispense of a SLAPP.” Compare Abbas, 783 F.3d at 1335, with Report of
Committee on Public Safety and the Judiciary on Bill 18–893 (Nov. 18, 2010), at 1.

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         Finally, in addition to the Second Circuit’s ruling in Liberty Synergistics, two district

courts in the Second Circuit have applied a state’s anti-SLAPP act. See, e.g., Adelson v. Harris,

973 F. Supp. 2d 467, 493 n.21 (E.D.N.Y. 2013) (applying Nevada law to hold that Nevada’s

anti-SLAPP act is substantive and thus should be applied in federal court); Bible & Gospel Trust

v. Twinam, No. 1:07-cv-17, 2008 WL 5245644, at *1 (D. Vt. Dec. 12, 2008) (applying

Vermont’s anti-SLAPP Act because it did not directly conflict with the Federal Rules).

III.     PCPC’S CONDUCT IS PROTECTED BY THE FIRST AMENDMENT.

         The claims against PCPC arise from PCPC’s lobbying and public relations activities.

Those claims fail because the First Amendment of the United States Constitution and

specifically, the Noerr-Pennington doctrine, preclude liability for such activities.

         The Noerr-Pennington doctrine takes its name from two cases decided by the United

States Supreme Court, E.R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127

(1961) (railroads’ “conspiracy” campaign designed to influence passage of law could not form

basis for Sherman Act liability), and United Mine Workers of Am. v. Pennington, 381 U.S. 657

(1965) (mine workers’ attempt to influence public officials did not violate law). These cases

arose in the antitrust context and held that liability could not be imposed for the exercise of

constitutional rights, such as engaging in a publicity campaign or lobbying efforts. The Supreme

Court reasoned that laws “tailored as they are for the business world, are not at all appropriate for

application in the political arena.” Noerr, 365 U.S., at 141. The Noerr-Pennington doctrine thus

protects two types of action: injuries from the petitioning itself; and injuries caused by

government action which results from the petitioning. A.D. Bedell Wholesale Co. v. Philip

Morris Inc., 263 F.3d 239, 251 (3d Cir. 2001).

         Although the Noerr-Pennington doctrine arose in the context of antitrust, the U.S.

Supreme Court has extended the doctrine beyond antitrust cases. See, e.g., Bill Johnson’s Rests.,

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Inc. v. NLRB, 461 U.S. 731 (1983); BE&K Constr. Co. v. NLRB, 536 U.S. 516, 525 (2002). And,

numerous courts have extended Noerr-Pennington protection to tort claims. See, e.g., We, Inc. v.

City of Philadelphia, 174 F.3d 322, 327 (3d Cir. 1999); Brownsville Golden Age Nursing Home,

Inc. v. Wells, 839 F.2d 155, 160 (3d Cir. 1988); Video Int’l Prod., Inc. v. Warner–Amex Cable

Comm’cns, Inc., 858 F.2d 1075, 1084 (5th Cir. 1988), cert. denied, 491 U.S. 906 (1989) (“there

is simply no reason that a common-law tort doctrine can any more permissibly abridge or chill

the constitutional right of petition than can a statutory claim such as antitrust.”). In other talc

litigation, plaintiffs have attempted to limit the Noerr-Pennington doctrine outside of the

antitrust and labor contexts. That attempt fails, as scores of federal and states courts have

extended the Noerr-Pennington doctrine beyond the context of antitrust immunity. 8

         “The application of Noerr-Pennington is a question of law.” IGEN Int’l Inc. v. Roche

Diagnostics GmbH, 335 F.3d 303, 310 (4th Cir, 2003) (citations omitted). Numerous courts

have applied the Noerr Pennington doctrine at the motion to dismiss stage.9


8
  Indeed the majority of circuit courts have either affirmatively extended the Noerr-Pennington
doctrine beyond antitrust cases or recognized such an extensions. See, e.g., Tomaiolo v. Mallinoff,
281 F.3d 1, 11 (1st Cir. 2002); Barnes Found. v. Twp. of Lower Merion, 242 F.3d 151, 159 (3d
Cir. 2001); IGEN Int'l, Inc. v. Roche Diagnostics GmbH, 335 F.3d 303, 310 (4th Cir. 2003);
Video, 858 F.2d at 1084 (5th Cir. 1988); Eaton v. Newport Bd. of Educ., 975 F.2d 292, 298–99
(6th Cir. 1992); Tarpley v. Keistler, 188 F.3d 788, 794 (7th Cir. 1999); Hufsmith v. Weaver, 817
F.2d 455, 458 (8th Cir. 1987); Sosa v. DIRECTV, Inc., 437 F.3d 923, 931, 935 (9th Cir. 2006);
Pers. Dep’t, Inc. v. Prof’l Staff Leasing Corp., 297 F. App’x 773, 779 (10th Cir. 2008).
9
 See, e.g., Sosa, 437 F.3d at 942; Razorback Ready Mix Concrete Co., Inc. v. Weaver, 761 F.2d
484, 488 (8th Cir. 1985); Empress LLC v. City and Cty. of San Fran., 419 F.3d 1052, 1057 (9th
Cir. 2005); Ala. Cargo Transport, Inc. v. Ala. R.R. Corp., 834 F. Supp. 1216, 1228 (D. Ala.
1991); United Tactical Sys., LLC v. Real Action Paintball, Inc., No. 14–cv–04050, 2016 WL
524761, at *6 (N.D. Cal. Feb. 2, 2016); Mazzocco v. Lehavi, No. 14CV2112, 2015 WL
12672026, at *8 (S.D. Cal. Apr. 13, 2015); Rupert v. Bond, 68 F. Supp. 3d 1142, 1159 (N.D. Cal.
2014); Lala v. Frampton, No. 07–cv–02144, 2008 WL 4059874, at *7 (D. Colo. Aug. 28, 2008);
Suburban Restoration Co. v. ACMAT Corp., 700 F.2d 98, 102 (2d Cir. 1983); Hartford Life Ins.
Co. v. Variable Annuity Life Ins. Co., Inc., 964 F. Supp. 624, 628 (D. Conn. 1997); Atico Int’l
USA, Inc. v. LUV N’ Care, Ltd., No. 09–60397–CIV, 2009 WL 2589148, at *4 (S.D. Fla. Aug.
19, 2009); Westfield Partners, Ltd. v. Hogan, 740 F. Supp. 523, 526 (N.D. Ill. 1990); Classic

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         A.     The Claims Against PCPC Arise From Protected Activity.

         As explained above in Part II.A at 13–14, Plaintiffs’ allegations arise from lobbying and

related activities. “The Noerr-Pennington doctrine holds that defendants who petition the

government, ‘whether by efforts to influence legislative or executive action or by seeking redress

in court,’ are immune from liability for such activity under the First Amendment.” Nader v. The

Dem. Nat’l Comm., 555 F. Supp. 2d 137, 156–57 (D.D.C. 2008), aff’d on other grounds sub

nom. Nader v. Dem. Nat’l Comm., 567 F.3d 692 (D.C. Cir. 2009) (quoting Covad Comm’cns Co.

v. Bell Atl. Corp., 398 F.3d 666, 677 (D.C. Cir. 2005)); see also Noerr Motor Freight, Inc., 365

U.S. at 136; Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972).

         The Noerr-Pennington doctrine has been applied to product liability claims brought

under negligence, concert of action or conspiracy theories. McAlonan v. Tracy, No. A-6034-

07T2, 2011 WL 6125, at *13 (N.J. Super. Ct. App. Div., Mar. 16, 2010), cert. denied, 202 N.J,

347 (2010); Structure Bldg. Corp. v. Abella, 377 N.J. Super. 467, 471 (App. Div. 2005). The

doctrine “protects First Amendment rights by affording immunity to those who petition the

government for redress.” McAlonan, 2011 WL 6125, at *13. Courts have reiterated that a core

principle of the Noerr-Pennington doctrine is that lobbying cannot form the basis of liability.

Commc’ns, Inc. v. Rural Tel. Serv. Co., No. 96–2166, 1997 WL 51419, at *4 (D. Kan. Jan. 30,
1997); Grand Cmtys., Ltd. v. Stepner, 170 S.W.3d 411, 416 (Ky. Ct. App. 2004); Bartholomew v.
Bail Bonds Unlimited, Inc., No. 05–4165, 2007 WL 1063338, at *4 (E.D. La. Apr. 5, 2007);
Agema v. City of Allegan, No. 1:12–cv–417, 2014 WL 249374, at *11 (W.D. Mich. Jan. 22,
2014); St. Jude Med. Inc. v. Leverenz, No. 03–5170, 2004 WL 251839, at *3 (D. Minn. Feb. 9,
2004); Atl. Recording Corp. v. Raleigh, No. 4:06–CV–1708, 2008 WL 3890387, at *4 (E.D. Mo.
Aug. 18, 2008); Biltmore Co. v. NU U, Inc., No. 1:15–cv–00288, 2016 WL 7494474, at *5
(W.D.N.C. Dec. 30, 2016); 24 Hour Fitness USA, Inc. v. Annis, No. 04–257, 2004 WL 2656877,
at *4 (D.N.H. Nov. 18, 2004); Haack v. City of Carson City, No. 3:11–cv–00353, 2012 WL
3638767, at *12 (D. Nev. Aug. 22, 2012); EDF Renewable Dev., Inc. v. Tritec Real Estate Co.,
147 F. Supp. 3d 63, 70–71 (E.D.N.Y. 2015); Mitchell v. Clackamas River Water, No. 3:16–cv–
00537–HZ, 2016 WL 6471450, at *7 (D. Or. Oct. 31, 2016); Brown v. TD Bank, N.A., No. 15–
5474, 2016 WL 1298973, at *8 (E.D. Pa. Apr. 4, 2016); Love Terminal Partners, L.P. v. City of
Dallas, Tex., 527 F. Supp. 2d 538, 557–58 (N.D. Tex. 2007); Oneida Tribe of Indians of Wis. V.
Harms d/b/a Worldshadow, No. 05–C–0177, 2005 WL 2758038, at *4 (E.D. Wis. Oct. 24, 2005).

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Hamilton v. Accu-tek, 935 F. Supp. 1307, 1321 (E.D.N.Y. 1996) (gun advocates’ coordinated

lobbying insufficient to form a basis for liability) (citing Centrone v. Schmidt, 114 Misc. 2d 840,

452 N.Y.S.2d 299, 302 (Sup. Ct. Nassau Cty., 1982)). “Noerr-Pennington protection has been

extended to all advocacy intended to influence government action, including to allegedly false

statements.” Tuosto v. Philip Morris USA Inc., No. 05CIV.9384(PKL), 2007 WL 2398507, at *5

(S.D.N.Y. Aug. 21, 2007) (shielding allegedly false statements made in the course of petitioning

the government) (citing Noerr Motor Freight, Inc., 365 U.S. at 140–42); New York Jets LLC v.

Cablevision Sys. Corp., 2005 WL 2649330, *7 (S.D.N.Y. Oct 17, 2005) (“The alleged

misrepresentations fall squarely within the confines of Noerr-Pennington” ). Even statements

that may “fall [ ] far short of the ethical standards generally approved in this country” are

protected by the Noerr-Pennington doctrine if they are made in the course of petitioning the

government. Noerr, 365 U.S. at 140; see also Hamilton, 935 F. Supp. at 1317.

         Therefore, pursuant to the Noerr Pennington doctrine, PCPC cannot be liable for its

lobbying and related activities, and Plaintiffs’ claims must be dismissed.

         B.     None of the Exceptions to the Noerr-Pennington Doctrine Apply.

         There are two exceptions to the Noerr-Pennington doctrine, neither of which applies

here. First, efforts to influence the government are not protected where they are found to be a

“sham” that is objectively baseless. “A ‘sham’ situation involves a defendant whose activities

are not genuinely aimed at procuring favorable governmental action at all.” City of Columbia v.

Omni Outdoor Advertising, 499 U.S. 365, 380 (1991) (quotations and citations omitted); see

also Jones v. La. State Bar Ass’n, 738 F. Supp. 2d 74, 80 (D.D.C. 2010), aff’d, No. 10-5327,

2011 WL 11025624 (D.C. Cir. Oct. 3, 2011) (“Efforts to influence the government are not

protected where they are found to be a ‘sham’ that is objectively baseless, i.e., threats,

intimidation, and other coercive measures, primarily to harass or discriminate against the

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plaintiffs.”). There is no dispute that PCPC had an interest in the outcome of its lobbying

activities. Plaintiffs allege as much. ECF No. 82 (Plaintiffs’ Master Long Form Complaint), ¶¶

34–35. PCPC was not acting to injure a competitor, nor was it conducting subterfuge for other

undisclosed goals. Moreover, the Supreme Court has “explicitly observed that a successful

effort to influence governmental action certainly cannot be characterized as a sham.”

Prof’l Real Estate Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 58 (1993) (internal

citations and quotations omitted) (emphasis added). Plaintiffs’ allegations that PCPC’s efforts

were successful demonstrate that the lobbying was not a sham. ECF No. 82 (Plaintiffs’ Master

Long Form Complaint), ¶¶ 34–35, 160, 207; see also Casey v. Johnson & Johnson, W.D. Ky.

No. 3:16-cv-00477, ¶¶ 26, 90; Harper v. Johnson & Johnson, D. S.C. No. 1:16-cv-03516, ¶¶ 33,

131; Brown-Harrison, et al. v. Johnson & Johnson, E.D. Pa. No. 2:16-cv-06029, ¶¶ 32, 120;

Gendelman v. Johnson & Johnson, E.D. Pa. No. 2:16-cv-06596, ¶¶ 43–44, 179; Fiore v. Johnson

& Johnson, E.D. Pa. No. 2:16-cv-06609, ¶¶ 27, 123.

         The second exception to the Noerr-Pennington doctrine is the “corruption” exception.

“Overtly corrupt conduct, such as threatening or bribing a public official, has also been ruled to

be outside the protection of the doctrine.” Friends of Rockland Shelter Animals, Inc. v. Mullen,

313 F. Supp. 2d 339, 343 (S.D.N.Y. 2004). However, “lobbying activities that are unethical or

result in deception are not actionable under the Noerr-Pennington doctrine.” Id. at 344; see also

Alfred Weissman Real Estate, Inc. v. Big V Supermarkets, Inc., 268 A.D.2d 101, 107, 707

N.Y.S.2d 647 (2d Dep’t 2000) (“[C]ourts have upheld the application of the doctrine even when

the petitioning activity included the use of questionable or underhanded activity.”). Here, there

is no allegation that PCPC engaged in overtly corrupt conduct, such as threatening or bribing a

public official.



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         Thus, Plaintiffs’ lawsuits must be dismissed because the Noerr-Pennington doctrine

protects PCPC from liability for its lobbying and related activities. This is particularly true of

the lawsuits subject to the anti-SLAPP statutes, where Plaintiffs have the burden of establishing

that their claims are “likely to succeed on the merits.” They certainly cannot succeed.

                                          CONCLUSION

         For the foregoing reasons, PCPC respectfully requests that the Court dismiss PCPC from

all of the lawsuits naming it as a defendant.


Dated: February 6, 2017                               Respectfully submitted,


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